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                  IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEW JERSEY

TRUTEK CORP.,
                                                         Civil Action No.: 2:23-cv-3709
                 Plaintiff,
v.
                                                         ORDER GRANTING
Yeong Wan Cho (a.k.a. Peter Cho); Abdul                  PLAINTIFF’S UNOPPOSED
Gaffar; Sei Young Yun; Salvacion USA,                    MOTION FOR EXTENSION
Inc.; Salvacion International, LLC; Salvacion            OF TIME TO FILE
Co., Ltd.; Salvacion R&D Center; Biosure                 RESPONSE TO
Global, Ltd.; Immobiliaria La Salvacion,                 CONSOLIDATED MOTION
R.D.; John and Jane Does 1 through 10                    TO DISMISS
(gender neutral fictitious names); ABC
Corporation 1 through 10 (fictitious names),

                               Defendants.



       Plaintiff, TRUTEK CORP., having moved for an extension of time of fourteen (14)

additional days to respond to Defendants’ Consolidated Motion to Dismiss and for an allowance

of 48 pages in brief length to respond to Defendants’ Consolidated Motion (ECF No. 47), and

the Court being fully advised of the premises,

       IT IS HEREBY ORDERED that the motion (ECF No. 47) is GRANTED. Plaintiff shall

have to and including November 22, 2023, to respond to Defendants’ Consolidated Motion to

Dismiss, and shall be entitled to 48 pages in brief length to respond to Defendants’ Consolidated

Motion. In light of the foregoing, Defendants shall have to and including December 4, 2023, to

reply. Once all papers have been exchanged, Defendants’ counsel shall file with the Court all of

the papers. All papers shall be filed by no later than December 4, 2023.


Dated: November 8, 2023                              ___________________________________
                                                     HON. JOSE R. ALMONTE
                                                     UNITED STATES MAGISTRATE JUDGE
